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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
National Council of Nonprofits, et al.,    )
                                           )
                            Plaintiffs,    )
                                           )
                     v.                    )    Civil Action No. 1:25-cv-239 (LLA)
                                           )
Office of Management and Budget, et al.,   )
                                           )
                            Defendants.    )
__________________________________________)

                                  [Proposed] ORDER

      Upon review of Defendants’ motion to dismiss, and the entire record in this matter,

Defendants’ motion is hereby GRANTED and this entire action is DISMISSED.

      SO ORDERED.

                                                _________________________________
                                                LOREN L. ALIKHAN
                                                United States District Judge


      Date: _________________, 2025




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